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     JOHN MICHAEL DICHIARA
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 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
      UNITED STATES OF AMERICA,                 )         Case №: 2:15-cr-190 GEB
11                                              )
                     Plaintiff,                 )
12                                              )
             vs.                                )      STIPULATION AND PROPOSED
13                                              )      ORDER TO CONTINUE THE STATUS
           .                                    )      CONFERENCE FROM AUGUST 24, 2018
14    JOHN MICHAEL DICHIARA                     )      TO SEPTEMBER 7, 2018 AND
                                                )      EXCLUSION OF TIME
15                   Defendant.                 )
16
17
18
                                                    STIPULATION
19
            IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys,
20
     Audrey Hemesath, Assistant United States Attorney, and Robert M. Wilson, attorney for John
21
22   DiChiara, that the status conference date of Friday, August 24, 2018, should be continued to

23   Friday, September 7, 2018, and time should be excluded under the Speedy Trial Act. The parties
24   further stipulate as follows:
25
            1. On September 11, 2017, defendant John DiChiara filed a Notice of Hospitalization and
26
     Request to Continue the Trial in this matter. (ECF 250, 253). Thereafter, this Court continued
27
     the trial set for September 12, 2017, to November 28, 2017, and found excludable time pursuant
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                                                      1
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 1   to Local Code N from September 12, 2017, to November 28, 2017. (ECF 265) Unfortunately,
 2
     Mr. DiChiara’s medical condition did not improve, and a further Status Conference was held on
 3
     October 27, 2017, wherein this Court determined Mr. DiChiara would not be available for the
 4
     November 28, 2017, trial due to his medical condition, and granted the government’s request to
 5
     sever Mr. DiChiara from his co-defendant and set a further status conference for February 23,
 6
 7   2018 ( ECF 277).

 8          2. Prior medical records have been provided to the government, and the government has
 9   previously spoken with Mr. DiChiara’s cardiologist and confirmed that Mr. DiChiara has
10
     multiple medical co-morbidities which have made him severely deconditioned and would
11
     preclude him from participating in a trial for at least the next six months. Specifically, Mr.
12
     DiChiara’s co-morbidities are a recent triple cardiac bypass, heart failure, deconditioning, falls
13
14   and history of strokes. His current diagnosis is coronary artery disease, heart failure, and strokes

15   followed by a triple bypass. Additionally, Mr. DiChiara suffers from kidney disease and is being
16   followed by a nephrologist. A letter provided to the government from the nephrologist indicates
17
     that Mr. DiChiara suffers from chronic kidney disease and his comorbidities preclude him from
18
     participating in any trial work for at least six months. Based on the above information the parties
19
     stipulated to continue the matter until July 20, 2018.
20
21          3. On July 20, 2018, this Court signed a Stipulation and Order continuing this matter to

22   August 20, 2018, because additional updated medical records had been sought, but not yet been

23   provided. Counsel for Mr. DiChiara had spoken with Mr. Dichiara and was advised that Mr.
24
     DiChiara was in frail health and was referred to a hematologist for evaluation of blood disorder.
25
            4. On August 22, 2018, counsel for Mr. DiChiara was advised that Mr. DiChiara had
26
     been admitted to the hospital following an emergency room visit evidencing signs of another
27
28   stroke. On August 23, 2018 counsel for Mr. DiChiara contacted the hospital and confirmed that
                                                       2
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 1   Mr. DiChiara had been admitted to the hospital TCU following a visit to the Emergency
 2
     Department and was undergoing an evaluation, among other things, to determine whether he had
 3
     another stroke. The nature and extent of Mr. DiChiara medical condition remain unknown at this
 4
     time.
 5
              In light of the recent hospitalization, additional time required to obtain medical
 6
 7   information necessary to assess Mr. DiChiara’s health condition and his ability for Mr. DiChiara

 8   to assist counsel in preparation for trial, the parties wish to continue the current status conference
 9   set for August 24, 2018 to September 7, 2018.
10
              4. The defendant, John DiChiara, is currently out of custody.
11
              5. The parties stipulate that such continuance on the basis of that the ends of justice
12
     served by taking such action outweigh the best interest of the public and the defendant in a
13
14   speedy trial. The parties further stipulate the continuance is necessary, as Mr. DiChiara is

15   currently physically incapable of attending and participating in trial, such that time exclusion is
16   again appropriate under Local Code N, 18 U.S.C. 3161(h)(4). Furthermore, defense counsel is
17
     still reviewing discovery, trial transcripts, meeting with his client, and investigating information
18
     as well as conducting additional research and as such time exclusion is appropriate under Local
19
     Code T-4.
20
21            7. Nothing in this stipulation and order shall preclude a finding that other provisions of

22   the Speedy Trial Act dictate that additional time periods be excludable from the period within

23   which a trial must commence.
24
              The parties stipulate that the time between August 24, 2018 and September 7, 2018
25
     should be excluded from the Speedy Trial calculation pursuant to 18 U.S.C.§§ 3161(h)(7)(A),
26
     B(iv) [Local Code T4] and 3161(h)(4) [Local Code N] for defense preparation and due to Mr.
27
     DiChiara’s recent hospitalization, comorbidities and inability to assist counsel with the
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                                                         3
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 1
     preparation for trial or participation in trial and his necessity to participate in medical
 2
     rehabilitation. The parties stipulate that the ends of justice served by granting this continuance
 3
     outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
 4
     § 3161(h)(7)(A).
 5
 6   IT IS SO STIPULATED.
 7
 8   Dated: August 23, 2018                                   /s/ Robert M. Wilson
 9                                                           ROBERT WILSON
                                                             Counsel for Defendant
10                                                           JOHN DICHIARA

11
12   Dated: August 23, 2018                                  MCGREGOR SCOTT
                                                             United States Attorney
13
14                                                           /s/ Audrey Hemersath
                                                             AUDREY HEMESATH
15                                                           Assistant United States Attorneys

16                                               IT IS SO ORDERED.
17
18           The status conference presently set for August 24, 2018 at 9:00 A.M., is hereby continued

19   to September 7, 2018 at 9:00 A.M., and time under the Speedy Trial Act will be excluded from
20   August 24, 2018 through September 7, 2018 pursuant to 18 U.S.C.§§ 3161(h)(7)(A), B(iv)
21
     [Local Code T4] and 3161(h)(4) [Local Code N] due to the unavailability of the defendant and
22
     further representations of the parties in their stipulation. The Court finds that the ends of justice
23
     served by granting this continuance outweigh the best interests of the public and the defendant in
24
25   a speedy trial.

26   Dated: August 24, 2018
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                                                         4
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